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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

DOCTOR’S ASSOCIATES INC.,
Case No.:

Plaintiff,

JASON ZUCHOWSKI and
CHARLES ZUCHOWSKI,

Defendant. : May 27, 2010
PETITION TO COMPEL ARBITRATION

1. This is an action to compel arbitration pursuant to Section 4 of the Federal
Arbitration Act, 9 U.S.C. § 4.

2. Plaintiff Doctor’s Associates Inc. (“DAI”), the franchisor of Subway® sandwich
shops in the United States, is a Florida corporation with a principal place of business in
Plantation, Florida. Until July 1991, DAI was a Connecticut corporation with its principal place
of business in Milford, Connecticut, and it still maintains offices in Milford.

3. Upon information and belief, defendants Jason Zuchowski (“JZ”) and Charles
Zuchowski (“CZ”) are residents and citizens of Ohio. Upon further information and belief, CZ is
JZ’s father.

4, This Court has diversity jurisdiction under 28 U.S.C. § 1332, because this is an
action between citizens of different states in which the amount in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs.
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5. Venue is proper under 28 U.S.C. § 1391(a)(3) because this Court has personal
jurisdiction over defendant and, under 9 U.S.C. § 4, this is the only court that can compel
arbitration in Connecticut.

6. On or about August 1, 2007, DAI and defendant JZ and non-defendants Ghazi
Faddoul and Joseph Faddoul executed a written franchise agreement (the “Agreement”),
permitting JZ, Ghazi Faddoul and Joseph Faddoul to operate a Subway® store in a specified
location. See Agreement, attached hereto as Exhibit A.

7. In addition to being a franchisee, Ghazi Faddoul (“DA Faddoul”) is also a
Subway® Development Agent (“DA”). Subway® DAs act as DAI’s primary representatives in
the field in the DA’s contractual territory. Among other things, they assist franchisees in
selecting sites for Subway® stores, assist franchisees in negotiating real estate leases, provide
ongoing operational assistance, and conduct monthly store inspections.

8. The Agreement, like all Subway® franchise agreements, contains a dispute
resolution clause requiring the parties to arbitrate any dispute or claim arising out of or relating
to the Agreement. Exhibit A, § 10.a. and 10.b. The arbitration must be in accordance with the
Commercial Rules of the American Arbitration Association and is to take place in Bridgeport,
Connecticut. Jd.

9. The Agreement, like all Subway® franchise agreements, specifically incorporates
the provisions of DAI’s Operations Manual. Exhibit A, q 5.b.(ii) (“The Operations Manual, as
amended from time to time, is intended to further the purposes of this Agreement and is
specifically incorporated into this Agreement”). The Operations Manual contains detailed
provisions governing the terms and conditions under which existing franchisees may apply for

and obtain additional franchise agreements and sets forth detailed procedures for resolving
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disputes between franchisees over particular locations for new stores. The relevant sections of
the Operations Manual are attached hereto as Exhibit B.

10. On or about April 29, 2010, JZ, along with his father, CZ, sued DAI and DA
Faddoul in the Court of Common Pleas of Cuyahoga County, Ohio (the “Ohio Lawsuit’),
alleging, among other things, that DAI is vicariously liable for all of the alleged representations
made by DA Faddoul about the development of Subway® restaurants throughout the country.
See Complaint, attached hereto as Exhibit C. Essentially, JZ and CZ claim that they are entitled
to be the franchisees, and have ownership interests in, additional Subway® franchises. JZ’s
business relationship with DAI arises from the Agreement, and that Agreement also addresses
his right (or lack thereof) to develop additional Subway® stores. Those claims clearly fall within
the broad scope of the Agreement’s arbitration clause.

11. To the extent that CZ claims an ownership interest in any Subway® franchises
(which DAI vigorously denies) he, like JZ and all other Subway® franchisees, would also be
bound by the obligation to arbitrate his claims. Under the principles of equitable estoppel and
otherwise, a party cannot claim the benefits of ownership in a franchise or base claims against a
franchisor relating to or arising out of a franchise relationship and avoid an arbitration provision

or other obligations that would bind an actual franchisee. '

 

' See, e.g. Denney v. BDO Seidman, LLP, 412 F.3d 58, 71 (2d Cir. 2005) (listing circumstances,
including estoppel, under which non-signatory claimants may be bound by arbitration
agreements); World Omni Fin. Corp. v. Ace Capital Re Inc., 64 Fed. Appx. 809, 812-13 (2d Cir.
2003) (holding that a non-signatory “is estopped from denying its obligation to arbitrate when it
seeks to receive a ‘direct benefit’ from the contract”); International Paper Co. v. Schwabedissen
.. Machinen & Anlagen GMBH, 206.F.3d.41.1, 418 (4th Cir. 2000) (“To allow.[a litigant] to claim
the benefit of the contract and simultaneously avoid its burdens would both disregard equity and
contravene the purposes underlying enactment of the Arbitration Act.”) (citations and internal
quotations omitted); Hughes Masonry Co. v. Greater Clark County Sch. Bldg. Corp., 659 F.2d
836, 839 (7th Cir. 1981) (“In short, [a party] cannot have it both ways. (It) cannot rely on the
contract when it works to its advantage and repudiate it when it works to (its) disadvantage... .
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12. By suing DAI in Ohio, JZ and CZ have wrongfully failed, neglected and/or
refused to arbitrate. JZ and CZ have also named parties as defendants in the Ohio Lawsuit that
they are prohibited from naming. Under these circumstances, they are responsible for paying all
of DAI’s costs and fees, including attorney’s fees. See Exhibit A, J 10.d. (“If you name [DAI
agents or representatives] in any arbitration or litigation proceeding . . . you will reimburse us for
reasonable costs incurred, including but not limited to, arbitration fees, court costs, lawyers’ fees,
management preparation time, witness fees, and travel expenses incurred by us or the party”) and
4 10.h. (“Ifa party ... commences action in any court, except to compel arbitration . . . prior to
an arbitrator’s final decision . . . , then that party is in default of this Agreement.... The
defaulting party will be responsible for all expenses incurred by the other party, or the
improperly named persons or entities, including lawyers’ fees, and will be liable for abuse of
process”). These provisions are in all current Subway® franchise agreements.

Accordingly, DAI requests that this Court enter an order pursuant to 9 U.S.C. § 4
directing JZ and CZ, to arbitrate their claims against DAI in the manner provided by the
Agreement and that they pay DAI’s costs and attorney’s fees incurred in connection with
compelling arbitration. DAI further requests that the Court enjoin JZ and CZ and any other

persons who receive actual notice of the injunction by personal service or otherwise who are in

 

To allow [a litigant] to claim the benefit of the contract and simultaneously avoid its burdens
would both disregard equity and contravene the purposes underlying enactment of the
Arbitration Act.”) (citations and internal quotations omitted); In re Oil Spill by “Amoco Cadiz”
Off Coast of France March 16, 1978 v. Reederei, 659 F.2d 789, 796 (7th Cir. 1981) (“It would
advance neither judicial economy nor the purposes of the federal arbitration act to permit [a
party] to assert in a judicial forum claims ground[ed] upon its alleged relationship [with the other
party].and:to allow it to disavow the relationship for purposes of arbitration.”); Southern Illinois
Beverage, Inc. v. Hansen Beverage Co., No. 07-CV-391-DRH, 2007 WL 3046273, **10-13
(S.D. Ill. Oct. 15, 2007) (party claiming to be a “franchisee” for purposes of state franchise law is
estopped claiming that it is not required to arbitrate dispute where actual franchise agreement
contains arbitration provision).
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active concert of participation with them, from pursuing any litigation related to the arbitrable
claims, including but not limited to the claims against DAI or its affiliates, representatives, and

agents in the Ohio Lawsuit.

PLAINTIFF
DOCTOR’S ASSOCIATES INC.

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